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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

UNITED STATES OF AMERICA                    CASE NO. 3:23-cr-147-MMH-JBT
v.
SCHYULAR QUINTON WILLIS

Counsel for Government:                           Counsel for Defendant:
Ashley Washington                                 Kathryn Sheldon

                HONORABLE MARCIA MORALES HOWARD
                   UNITED STATES DISTRICT JUDGE

Courtroom Deputy: Jodi L. Wiles                 Court Reporter: Katharine Healey
U.S. Probation: Kyle McCrohan


                              CLERK’S MINUTES

PROCEEDINGS OF:         SENTENCING

The Clerk of the Court is directed to seal Defendant’s Sentencing Memorandum (Dkt.
No. 40). Counsel for Defendant is directed to file a properly redacted Sentencing
Memorandum.

Plea previously accepted.

Defendant adjudged guilty on Count One of the Indictment

Imprisonment:   TWO HUNDRED TEN (210) MONTHS

The Court makes the following recommendation to the Bureau of Prisons:
         The Court recommends designation to the facility located in Seagoville,
           Texas in order to allow Defendant to receive the benefit of the Bureau
           of Prisons’ sex offender treatment that is available at that facility.
         In the event designation to Seagoville, Texas is not available, the Court
           stresses the need to designate Defendant to a facility with the greatest
           degree of sex offender treatment available.

Supervised Release:   SEVEN (7) YEARS

Special conditions of supervised release:
           Defendant shall participate in a mental health treatment program.
           Defendant shall participate as directed in a mental health program
             specializing in sexual offender treatment and submit to polygraph
             testing.
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            Defendant shall register with the state sexual offender registration
             agency in any state where he resides, visits, is employed, carries on a
             vocation, or is a student. The probation officer shall provide state
             officials with all information required under Florida sexual predator and
             sexual offender notification and registration statutes.
            Defendant shall have no direct contact with minors and shall refrain
             from entering into any area where children frequently congregate.
            Defendant is prohibited from possessing, subscribing to, or viewing, any
             video, magazines, or literature depicting children in the nude and/or in
             sexually explicit positions.
            Defendant is prohibited from either possessing or using a computer
             capable of connecting to an online service or an internet service provider.
            Defendant shall have no contact, direct or indirect, with the victim
             identified in Count 1, MV1.
            Defendant shall submit to a search of his person, residence, place of
             business, any storage units under his control, computer, or vehicle.
            Defendant is prohibited from incurring new credit charges, opening
             additional lines of credit, or obligating himself for any major purchases
             without approval of the probation office.
            Defendant shall provide the probation officer access to any requested
             financial information.
            Defendant shall cooperate in the collection of DNA as directed by the
             probation officer.
            Mandatory drug testing suspended.

Special Assessment:     $100.00       to be paid immediately.

Restitution: A restitution hearing is set for September 9, 2024, at 1:30 p.m.

Counsel for Defendant is directed to file a notice advising the Court whether
Defendant waives his right to be present at the restitution hearing.

Count Two of the Indictment is dismissed on the motion of the Assistant U.S.
Attorney and pursuant to the Plea Agreement.

Defendant advised of right to appeal and to counsel on appeal.

Defendant is remanded to the custody of the U.S. Marshal.




Date: June 21, 2024       Time: 2:04 p.m. – 3:11 p.m.        Total: 1 Hour, 7 Minutes
